                                      Case 23-15962              Doc 1        Filed 08/23/23           Page 1 of 29


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MARYLAND

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Johnson Scott Property Management, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  700 12th St. NW
                                  110 S. Mount St.                                                #700
                                  Baltimore, MD 21223                                             Washington, DC 20005
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Baltimore City                                                  Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                        Case 23-15962               Doc 1         Filed 08/23/23              Page 2 of 29
Debtor    Johnson Scott Property Management, LLC                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5310

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                            Case 23-15962                 Doc 1        Filed 08/23/23            Page 3 of 29
Debtor    Johnson Scott Property Management, LLC                                                          Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                              Case 23-15962            Doc 1       Filed 08/23/23          Page 4 of 29
Debtor   Johnson Scott Property Management, LLC                                     Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                     Case 23-15962                Doc 1        Filed 08/23/23             Page 5 of 29
Debtor    Johnson Scott Property Management, LLC                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 23, 2023
                                                  MM / DD / YYYY


                             X /s/ Sherrice Smith                                                         Sherrice Smith
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing-Member




18. Signature of attorney    X /s/ William C. Johnson, Jr.                                                 Date August 23, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 William C. Johnson, Jr.
                                 Printed name

                                 The Johnson Law Group, LLC
                                 Firm name

                                 6305 Ivy Lane
                                 Suite 630
                                 Greenbelt, MD 20770
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (301) 477-3450                Email address      William@JohnsonLG.Law

                                 15651 MD
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Johnson Scott Property Management, LLC

United States Bankruptcy Court for the:     DISTRICT OF MARYLAND

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 23, 2023                 X /s/ Sherrice Smith
                                                           Signature of individual signing on behalf of debtor

                                                            Sherrice Smith
                                                            Printed name

                                                            Managing-Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                                      Case 23-15962               Doc 1         Filed 08/23/23               Page 7 of 29


 Fill in this information to identify the case:
 Debtor name Johnson Scott Property Management, LLC
 United States Bankruptcy Court for the: DISTRICT OF MARYLAND                                                                                Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Internal Revenue                                    Tax                                                                                                          Unknown
 Service
 1111 Constitution
 Ave. NW
 Washington, DC
 20224
 Md State                                            Tax                                                                                                          Unknown
 Department of
 Assessment Tax
 301 W. Preston St.
 Baltimore, MD 21201




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                                                  Case 23-15962                            Doc 1               Filed 08/23/23                        Page 8 of 29

 Fill in this information to identify the case:

 Debtor name            Johnson Scott Property Management, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           176,800.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $              1,500.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           178,300.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           135,908.98


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             135,908.98




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                                    Case 23-15962             Doc 1        Filed 08/23/23            Page 9 of 29

Fill in this information to identify the case:

Debtor name         Johnson Scott Property Management, LLC

United States Bankruptcy Court for the:     DISTRICT OF MARYLAND

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Capital One Bank                                  Business Checking                     2539                                     $1,500.00




          3.2.     Truist Bank                                       Business Checking                     xxxx                                             $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $1,500.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
                                  Case 23-15962             Doc 1        Filed 08/23/23              Page 10 of 29

Debtor       Johnson Scott Property Management, LLC                                      Case number (If known)
             Name

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and             Net book value of             Valuation method used   Current value of
          property                              extent of              debtor's interest             for current value       debtor's interest
          Include street address or other       debtor's interest      (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. 110 S. Mount St.
                 Baltimore, Maryland
                 21223                          Fee simple                        Unknown            N/A                               $176,800.00




56.       Total of Part 9.                                                                                                           $176,800.00
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.

57.       Is a depreciation schedule available for any of the property listed in Part 9?
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                              page 2
                                  Case 23-15962              Doc 1        Filed 08/23/23            Page 11 of 29

Debtor        Johnson Scott Property Management, LLC                                       Case number (If known)
              Name


             No
             Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                page 3
                                           Case 23-15962                      Doc 1            Filed 08/23/23                   Page 12 of 29

Debtor          Johnson Scott Property Management, LLC                                                              Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $1,500.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                        $176,800.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                $1,500.00         + 91b.              $176,800.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $178,300.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 4
                                            Case 23-15962               Doc 1        Filed 08/23/23               Page 13 of 29

Fill in this information to identify the case:

Debtor name          Johnson Scott Property Management, LLC

United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
2.1    Lima One Capital                             Describe debtor's property that is subject to a lien                     $135,908.98               $176,800.00
       Creditor's Name                              110 S. Mount St.
       201 E McBee Ave.                             Baltimore, Maryland 21223
       #300
       Greenville, SC 29601
       Creditor's mailing address                   Describe the lien
                                                    Deed of Trust
                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
       2020                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5414
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.             $135,908.98

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Cohn, Goldberg & Deutsch, LLC
        1099 Winterson Road, Ste. 301                                                                         Line   2.1
        Linthicum Heights, MD 21090




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 1
                                     Case 23-15962                  Doc 1            Filed 08/23/23                    Page 14 of 29

Fill in this information to identify the case:

Debtor name        Johnson Scott Property Management, LLC

United States Bankruptcy Court for the:          DISTRICT OF MARYLAND

Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown            Unknown
          Internal Revenue Service                            Check all that apply.
          1111 Constitution Ave. NW                              Contingent
          Washington, DC 20224                                   Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2021-2022                                           Tax

          Last 4 digits of account number 6871                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown            Unknown
          Md State Department of                              Check all that apply.
          Assessment Tax                                         Contingent
          301 W. Preston St.                                     Unliquidated
          Baltimore, MD 21201                                    Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2021-2022                                           Tax

          Last 4 digits of account number 6871                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
    3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
       out and attach the Additional Page of Part 2.
3.1    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.
                                                                                Contingent
                                                                                Unliquidated
          Date or dates debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                            Basis for the claim:

                                                                            Is the claim subject to offset?           No   Yes


Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 2
                                                                                                              37653
                                     Case 23-15962                  Doc 1         Filed 08/23/23               Page 15 of 29

Debtor      Johnson Scott Property Management, LLC                                                 Case number (if known)
            Name


Part 3:     List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
5a. Total claims from Part 1                                                                         5a.       $                              0.00
5b. Total claims from Part 2                                                                         5b.   +   $                              0.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                              5c.       $                                 0.00




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 2
                                  Case 23-15962               Doc 1        Filed 08/23/23             Page 16 of 29

Fill in this information to identify the case:

Debtor name       Johnson Scott Property Management, LLC

United States Bankruptcy Court for the:     DISTRICT OF MARYLAND

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            one year lease
           lease is for and the nature of
           the debtor's interest

               State the term remaining          7 months
                                                                                    KTSMGH
           List the contract number of any                                          110 S. Mount St.
                 government contract                                                Baltimore, MD 21223




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
                                 Case 23-15962             Doc 1        Filed 08/23/23            Page 17 of 29

Fill in this information to identify the case:

Debtor name      Johnson Scott Property Management, LLC

United States Bankruptcy Court for the:   DISTRICT OF MARYLAND

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
                                  Case 23-15962              Doc 1         Filed 08/23/23             Page 18 of 29




Fill in this information to identify the case:

Debtor name         Johnson Scott Property Management, LLC

United States Bankruptcy Court for the:    DISTRICT OF MARYLAND

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                         Gross revenue
      which may be a calendar year                                                    Check all that apply                       (before deductions and
                                                                                                                                 exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                $15,200.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                                $20,900.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                                $-1,082.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other


      For year before that:                                                               Operating a business                                 $4,800.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue          Gross revenue from
                                                                                                                                 each source
                                                                                                                                 (before deductions and
                                                                                                                                 exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 1
                                   Case 23-15962               Doc 1        Filed 08/23/23             Page 19 of 29
Debtor       Johnson Scott Property Management, LLC                                             Case number (if known)




          None.

      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Cohn Goldberg v. Johnson                  Foreclosure                 Baltimore City Circuit Court                  Pending
             Scott Property Management,                                            111 N Calvert St                              On appeal
             LLC                                                                   Baltimore, MD 21202                           Concluded
             24-O-23-000653

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
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Debtor        Johnson Scott Property Management, LLC                                              Case number (if known)



              Recipient's name and address             Description of the gifts or contributions                  Dates given                           Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    The Johnson Law Group, LLC
               6305 Ivy Lane
               Suite 630                                                                                               August 23,
               Greenbelt, MD 20770                       Attorney Fees                                                 2023                       $7,500.00

               Email or website address
               William@JohnsonLG.Law

               Who made the payment, if not debtor?
               Sherrice Smith



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



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Debtor      Johnson Scott Property Management, LLC                                               Case number (if known)




          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4
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Debtor      Johnson Scott Property Management, LLC                                              Case number (if known)




         None

      Facility name and address                             Names of anyone with                  Description of the contents                   Does debtor
                                                            access to it                                                                        still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 5
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Debtor      Johnson Scott Property Management, LLC                                              Case number (if known)



   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.    Talbertt Still Properties, LLC           Real Estate Development                           EIN:         465081133
                                                                                                       From-To      March 1, 2014


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Ebere Okoye                                                                                                        2015-2022
                    Sunnside Ave ste 206
                    Beltsville, MD 20705

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory         The dollar amount and basis (cost, market,
               inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      Sherrice Smith                          700 12th St. NW                                     Managing Member                               100
                                              #700
                                              Washington, DC 20005


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 6
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Debtor      Johnson Scott Property Management, LLC                                              Case number (if known)



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         August 23, 2023

/s/ Sherrice Smith                                              Sherrice Smith
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    Managing-Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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                                                      United States Bankruptcy Court
                                                                   District of Maryland
 In re    Johnson Scott Property Management, LLC                                                                  Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder

-NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing-Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date August 23, 2023                                                     Signature /s/ Sherrice Smith
                                                                                        Sherrice Smith

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                              United States Bankruptcy Court
                                                        District of Maryland
 In re   Johnson Scott Property Management, LLC                                                Case No.
                                                                   Debtor(s)                   Chapter     11




                                  VERIFICATION OF CREDITOR MATRIX


I, the Managing-Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:    August 23, 2023                               /s/ Sherrice Smith
                                                       Sherrice Smith/Managing-Member
                                                       Signer/Title
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    Cohn, Goldberg & Deutsch, LLC
    1099 Winterson Road, Ste. 301
    Linthicum Heights, MD 21090



    Internal Revenue Service
    1111 Constitution Ave. NW
    Washington, DC 20224



    KTSMGH
    110 S. Mount St.
    Baltimore, MD 21223



    Lima One Capital
    201 E McBee Ave.
    #300
    Greenville, SC 29601



    Md State Department of Assessment Tax
    301 W. Preston St.
    Baltimore, MD 21201
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                                          United States Bankruptcy Court
                                                    District of Maryland
 In re   Johnson Scott Property Management, LLC                                        Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Johnson Scott Property Management, LLC in the above captioned action, certifies
that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s)
10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



  None [Check if applicable]




August 23, 2023                                  /s/ William C. Johnson, Jr.
Date                                             William C. Johnson, Jr.
                                                 Signature of Attorney or Litigant
                                                 Counsel for Johnson Scott Property Management, LLC
                                                 The Johnson Law Group, LLC
                                                 6305 Ivy Lane
                                                 Suite 630
                                                 Greenbelt, MD 20770
                                                 (301) 477-3450 Fax:(301) 477-4813
                                                 William@JohnsonLG.Law
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              RESOLUTION OF Johnson Scott Property Management, LLC

       RESOLVED that , Sherrice Smith, Managing Member of Johnson Scott Property
Management, LLC (the “Company”), it is desirable and in the best interests of the
Company, its creditors, members, and other interested parties that a petition be filed by
the Company seeking relief under the provisions of Chapter 11 of title 11, United States
Code (the “Bankruptcy Code”); and it is further;

        RESOLVED that Sherrice Smith, the signer is authorized to execute documents
on behalf of the Company (“Signer”), hereby is authorized and directed on behalf of the
Company to execute and verify a petition in the name of the Company under Chapter 11
of the Bankruptcy Code and to cause the same to be filed in the United States Bankruptcy
Court for the District of Columbia in such form and at such time as the Officer executing
said petition on behalf of the Company shall determine; and it is further;

         RESOLVED that the signer is authorized and directed, in the name of the
Company to seek such orders from the Bankruptcy Court, including but not limited to,
orders regarding the operations and financing of the businesses of the Company and to
execute and file (or direct others to do so on their behalf as provided herein) all necessary
documents, including, without limitation, all petitions, affidavits, schedules, motions,
lists, applications, pleadings and other papers, and to employ and retain all assistance by
legal counsel, accountants, financial advisors or other professionals and to take any and
all action which they deem necessary and proper in connection with the Chapter 11 case,
with a view to the successful prosecution of such cases, and it is further;

       RESOLVED that The Johnson Law Group, LLC is approved by the signer, and
hereby is employed under a general retainer as attorneys for the Company in the Chapter
11 case; and it is further;

        RESOLVED that all acts lawfully done or actions lawfully taken by the signer to
seek relief under Chapter 11 of the Bankruptcy Code or in connection with the Chapter
11 case, or any matter related thereto, be, and hereby are, adopted, ratified, confirmed and
approved in all respects as the acts and deeds of the Company; and it is further;

        RESOLVED that the Signer hereby is authorized, in the name and on behalf of
the Company, to take or cause to be taken any and all such further action and to execute
and deliver or cause to be executed or delivered all such further agreements, documents,
certificates and undertakings, and to incur all such fees and expenses as in their judgment
shall be necessary, appropriate or advisable to effectuate the purpose and intent of any
and all of the forgoing resolutions.

August 23, 2023                                       s
                                                      ________________________
                                                      Sherrice Smith, Managing Member
